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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  -----------------------------------X

  UNITED STATES OF AMERICA

       -against-                                     MEMORANDUM & ORDER

  TYQUAN MIDYETT,                                    07-CR-874 (KAM)

                    Defendant.

  ------------------------------------X

  MATSUMOTO, United States District Judge:

             On March 11, 2009, defendant Tyquan Midyett (“Midyett”

  or “defendant”) was convicted by a jury of Counts 1, 2, 5, 10

  and 11 of an eleven-count, third superseding indictment. 1             In


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    Count One charges that between May 2006 and December 2007,
  defendant and others conspired to distribute and possessed with
  the intent to distribute fifty grams or more of cocaine base, in
  violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 864 (the
  “conspiracy charge”). Count Two charges that on December 7,
  2006, defendant and others distributed and possessed with the
  intent to distribute cocaine base within 1,000 feet of a private
  elementary and secondary school, Bais Rachel D’Satmar, and a
  public housing facility, the Marcy Houses, in violation of 21
  U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 860(a). Count Five
  charges that on January 9, 2007, defendant and others
  distributed and possessed with the intent to distribute five
  grams or more of cocaine base within 1,000 feet of a private
  elementary and secondary school and a public housing facility,
  in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 860(a).
  Count Ten charges that on December 10, 2007, defendant and
  others distributed and possessed with the intent to distribute
  five grams or more or cocaine base within 1,000 feet of a
  private elementary and secondary school and a public housing
  facility, in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C)
  and 860(a). Count Eleven charges that on July 3, 2007,
  defendant, having previously been convicted of a crime
  punishable by a term of imprisonment exceeding one year,
  possessed a firearm, in violation of 18 U.S.C. §§ 922(g)(1) and
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  anticipation of his sentencing scheduled for October 14, 2009,

  defendant filed a handwritten, pro se memorandum dated August

  26, 2009, in which he asserts, inter alia, that defense counsel

  failed to advise him accurately of the government’s plea offer

  and the consequences of rejecting the plea offer and proceeding

  to trial.    (See Doc. No. 422, Defendant’s Sentencing Memorandum

  dated Aug. 26, 2009 (“Def. Mem.”) at 3.)          Defendant asserts that

  his attorneys’ alleged failures have exposed him to a longer

  sentence than he might otherwise be exposed had he pled guilty

  in advance of trial.     Defendant thus requests “a meaningful

  opportunity to accept responsibility and receive the benefit

  therefrom.”    (Id. at 4.)

              On October 28, 2009, the court held an evidentiary

  hearing to explore the pre-trial discussions between defendant

  and his former counsel, Joel S. Cohen, Esq. and Martin J.

  Siegel, Esq., regarding the circumstances surrounding the

  parties’ plea negotiations, the advisability of a plea and the

  potential consequences of proceeding to trial.            (See generally,

  Transcript of Proceedings held on Oct. 28, 2009 (“Tr.”).)               At

  the October 28, 2009 evidentiary hearing, the court heard the

  testimony of defendant, Cohen and Siegel, after defendant waived




  924(a)(2). (See Doc. No. 241, Redacted Superseding Indictment,
  filed on Feb. 9, 2009.)
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  his privileged communications with counsel. 2          (See id. at 2-3.)

             Having considered the appropriate burdens of

  production and proof, the testimony of witnesses, the hearing

  exhibits, the parties’ written submissions, and having resolved

  issues of credibility, the court denies defendant’s motion in

  its entirety.    The court sets forth below the findings of fact

  and conclusions of law upon which this determination is based.

                              FINDINGS OF FACT

             On December 7, 2007, defendant and others were

  indicted for conspiring to distribute and possess with the

  intent to distribute 50 grams or more of a substance containing

  cocaine base, in violation for 21 U.S.C. §§ 841(b)(1)(A)(iii)

  and 846, and distribution of cocaine base within 1,000 feet of a

  private elementary and secondary school and a public housing

  facility, in violation of 21 U.S.C. §§ 841(a)(1) and

  841(b)(1)(C).    The conspiracy charge in Count One of the

  indictment and subsequent superseding indictment carries a

  mandatory minimum term of 10 years’ imprisonment.             Additionally,

  because the defendant had previously been convicted of a felony

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    At the October 28, 2009 hearing, the government proffered as
  evidence the declarations of Messrs. Cohen and Siegel. (See Tr.
  at 6-7.) Although the declarations were signed after defendant
  waived his attorney-client privilege, they were prepared by the
  government’s counsel in advance of the hearing and contain very
  specific information concerning discussions between defendant
  and his counsel. (See id. at 7-9). The declarations were
  admitted into evidence, but the court does not rely on them in
  reaching a decision on defendant’s instant motion.
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  drug trafficking offense, he is subject to a 20-year mandatory

  minimum term of imprisonment because the government filed a

  prior felony information pursuant to 21 U.S.C. §§ 841(b)(1)(A)

  and 851 after defendant declined to plead guilty. 3

             Defendant was represented by Joel Cohen from his

  arraignment on December 13, 2007 until July 7, 2008.             (See Tr.

  at 53; see also Doc. No. 7, Minute Entry for Arraignment on Dec.

  12, 2007; Doc. No. 105, Minute Entry for Pretrial Conference on

  July 7, 2008.)    During that period, Mr. Cohen had “between three

  and five meetings” with defendant at the Metropolitan Detention

  Center (“MDC”) in Brooklyn, New York and had limited telephone

  contact with defendant.      (Tr. at 53.)

  3
    A conviction for conspiracy to distribute and possess with the
  intent to distribute 50 grams or more of a substance containing
  cocaine base, in violation of 21 U.S.C. §§ 841(b)(1)(A)(iii),
  carries a 10-year mandatory minimum term of imprisonment. If a
  violation of § 841(b)(1)(A) occurs “after a prior conviction for
  a felony drug offense has become final,” the mandatory minimum
  is twenty years’ imprisonment. Id. Under 21 U.S.C. § 851,
  “[n]o person who stands convicted of an offense under [the
  Controlled Substances Act] shall be sentenced to increased
  punishment by reason of one or more prior convictions, unless,
  before trial, or before entry of a plea of guilty, the United
  States attorney files an information with the court . . .
  stating in writing the previous convictions to be relied upon.”
  21 U.S.C. § 851(a)(1). Because defendant was charged with
  violating sections of the Controlled Substances Act, the
  government may subject defendant to the enhanced penalties in 21
  U.S.C. § 841(b)(1)(A) by filing a § 851 prior felony information
  before defendant’s trial or before the entry of a guilty plea.
  The decision of whether to file a § 851 information is within
  the discretion of the United States attorney. See United States
  v. LaBonte, 520 U.S. 751, 762 (1997); United States v. Sanchez,
  517 F.3d 651, 669-670 (2d Cir. 2008).

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             Under cover of letter dated March 27, 2008, the

  government provided Mr. Cohen with a proposed plea agreement to

  the conspiracy count, subjecting defendant to a 10-year

  mandatory minimum term of incarceration.          (Id. at 54-55; see

  also Gov. Ex. 3, Letter dated Mar. 27, 2008 and proposed Plea

  Agreement.)    Although Mr. Cohen did not recall whether he

  provided defendant with a copy of the government’s March 27,

  2008 cover letter or proposed plea agreement, Mr. Cohen credibly

  testified that he communicated and explained the government’s

  plea offer to defendant and explained the ramifications “in the

  event the government filed a second felony information” pursuant

  to 21 U.S.C. 851.      (See Tr. at 56-57.)     Specifically, Mr. Cohen

  testified that he explained to defendant that, if defendant

  chose not to accept the government’s offer and plead guilty to

  the 10-year mandatory minimum, the government would file a prior

  felony information, subjecting defendant to a mandatory 20-year

  term of incarceration.      (Id. at 59, 61.)       Mr. Cohen also

  testified that he specifically advised defendant of the

  government’s 10-year plea offer each time he met with defendant.

  (Id. at 61.)

             Moreover, although defendant, Mr. Cohen and the

  government discussed the possibility of a sentence below the

  ten-year mandatory minimum, Mr. Cohen testified that “the

  government made it pretty clear that there was no way, other

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  than through cooperation, that [defendant] would have an

  opportunity to get less than ten years.”          (Id. at 61.)      Mr.

  Cohen credibly testified that defendant “wasn’t interested at

  all in cooperating.      He had no interest in cooperating.”          (Id.

  at 58.)   Indeed, defendant acknowledged that Mr. Cohen discussed

  with him the “possibility of pleading guilty . . . .”              (Id. at

  20.)   Defendant testified that “Mr. Cohen informed me that the

  government said that I played a minimal role” in the offense but

  that to receive “five to 40” years’ imprisonment, defendant

  would have to “play ball with the government[,]” which defendant

  testified he was not willing to do because he had “no

  information to give.”      (Id. at 20-21.)     Defendant further

  testified that it was “[v]ery much possible” that he would have

  pled guilty to an offer of five years’ imprisonment on the

  conspiracy count.      (Id. at 23.)

             Mr. Cohen further testified that in or around March or

  April 2008, he reviewed some of the government’s evidence, which

  he then discussed with defendant.         Specifically, Mr. Cohen

  reviewed “some DVDs . . . that purported to show a drug

  transaction that Mr. Midyett was involved in.”            (Id. at 63.)

  Mr. Cohen testified that “when I saw [the DVDs] there was no

  doubt in my mind that the person pictured was Mr. Midyett and

  that he was selling drugs.      There was very clear audio.”          (Id.)

  Mr. Cohen testified that he “told [defendant] that I didn’t

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  think he could walk away from a conviction on the substantive

  count at all because it was evident that the person on the video

  was [the defendant] and that he was selling drugs . . . .”               (Id.

  at 64.)   Defendant, by contrast, did not put forth any evidence

  contradicting Mr. Cohen’s testimony regarding Cohen’s analysis

  of and advice concerning the government’s proof.            (See id. at

  46.)

             By letter dated June 24, 2008, the government formally

  advised Mr. Cohen that, if defendant “did not enter a plea of

  guilty on or before June 30, 2008, the government intends to

  file a prior felony information[,]” which “would have the effect

  of doubling any mandatory minimum sentence to which your client

  is subject.” 4   (Gov. Ex. 2.)    Although Mr. Cohen did not recall

  showing defendant a copy of the government’s June 24, 2008

  letter, Mr. Cohen testified that he discussed with defendant

  “the ramifications . . . of taking this plea, and mindful of his

  [defendant’s] record, what the ramifications would be in the

  event that the government filed a second felony information.”

  (Tr. at 56-57.)    Specifically, Mr. Cohen advised defendant that

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    The United States Attorneys’ Manual (the “Manual”) § 9-27
  provides, in relevant part, that “[e]very prosecutor should
  regard the filing of an information under 21 U.S.C. § 851
  concerning prior convictions as equivalent to the filing of
  charges.” In turn, the Manual provides that “[c]harges should
  not be filed simply to exert leverage to induce a plea . . . .”
  Manual § 9-27.300 (available at
  http://www.justice.gov/usao/eousa/foia_reading_room/usam/title9/
  27mcrm.htm) (last visited Feb. 2, 2010).
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  the effect of the prior felony information would be that, “if he

  [defendant] were convicted on the conspiracy [count,] . . .

  instead of having a ten-year minimum, it would be 20.”              (Id. at

  60.)

             Defendant testified that Mr. Cohen neither showed him

  the plea agreement nor advised him that the mandatory sentence

  would be doubled if he did not plead guilty.            (Id. at 16.)

  Defendant further testified that he “never had a conversation

  about any minimums.”     (Id. at 19.)     Defendant’s Declaration,

  submitted in anticipation of the October 28, 2009 fact-finding

  hearing (Gov. Ex. 5), is silent with respect to defendant’s

  conversations with Mr. Cohen.

             Based on Mr. Cohen’s review of the evidence, the

  strength of the government’s case, the possibility of a 20-year

  mandatory sentence, and defendant’s desire to be reunited with

  his family, Cohen recommended to defendant that he “take the ten

  years and avoid doing another ten.”        (Id. at 63, 68, 70.)         Mr.

  Cohen testified that he discussed with defendant the strengths

  of the government’s evidence and “talked to [defendant] about

  how foolish I thought it would be based on my escalating belief

  that he would be convicted if he risked going to trial.”              (Id.

  at 70.)   Mr. Cohen testified that he “really almost begged him

  [defendant] not to risk throwing away ten years in light of what

  I thought was a pretty certain conviction.”            (Id. at 71.)

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              According to Mr. Cohen, despite his advice, defendant

  declined to plead guilty.       (Id. at 70-71.)         Mr. Cohen testified

  that defendant told him that he believed he was not guilty of

  the conspiracy count because defendant had a “strong belief”

  that he acted as a “lone operator[.]”          (Id. at 71.)       Mr. Cohen

  “explain[ed] to [defendant] how easy it is to be charged and

  convicted of conspiracy . . . . and told him that I thought that

  there was a good chance that he would be [convicted].”                (Id.)

  Defendant testified that he and Mr. Cohen discussed “conspiracy

  in general.”    (See id. at 19.)       The court finds Mr. Cohen’s

  foregoing testimony credible.

              At approximately the same time, relations between

  defendant and Mr. Cohen broke down.         Mr. Cohen testified that

  during their last meeting, defendant “said something to me about

  his believing that I was working with the government.”                (Id. at

  62.)   Indeed, defendant testified that he believed that Mr.

  Cohen did not have defendant’s “best interests at heart[.]”

  (See id. at 34.)       Consequently, defendant requested new counsel.

  (See id.)   On July 8, 2008, defendant’s motion for new counsel

  was granted and Martin J. Siegel, Esq. was appointed to

  represent defendant.      (See Doc. Nos. 96, 105.)          According to the

  government, “because of the likelihood of appointment of new

  counsel, and in the interest of providing the defendant with an

  opportunity to plead guilty to the 10-year offer, the government

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orally extended the June 30 deadline until July 15, 2008.”

(Doc. No. 449, Post-hearing Letter Memorandum of Law dated Dec.

3, 2009 (“Gov. Mem.”) at 3; see also Gov. Ex. 4, Transcript of

Status Conference on July 15, 2008, at 12-13.)

            Following his appointment as counsel, Mr. Siegel met

with defendant on three occasions between July 8, 2008 and July

15, 2008.    (See id. at 83.)     Mr. Siegel testified that during

each of their meetings, he discussed with defendant a plea of

guilty to ten years and the consequences of proceeding to trial

if the government filed a prior felony information.           (Id. at 85-

86.)   Mr. Siegel testified that based on a review of his

contemporaneous handwritten notes and his “norma[l]” practice,

he advised defendant that the “potential filing of the 851

felony [information] . . . would then double the sentence.”

(Id. at 77.)    Siegel testified that his notes from a July 14,

2008 meeting with defendant reflect that he advised defendant

“of the ten-year mandatory minimum.        If he refuses, they will

then file an 851 prior felony [information] and he would then

face [a] mandatory minimum of twenty years.”           (Id. at 78; see

Court Exs. 1, 3, Handwritten Notes.)        Mr. Siegel did not recall

whether he showed defendant a copy of the proposed plea

agreement or the correspondence between the government and Mr.

Cohen.   (Id. at 77-78.)     The court finds Mr. Siegel’s foregoing

testimony credible.

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           Defendant testified that Mr. Siegel did not advise him

that the mandatory minimum sentence would be doubled to 20 years

if he did not plead guilty.        (See id. at 15.)     According to

defendant, Mr. Siegel “just mentioned the government had an

offer.    I asked him ‘what was the offer,’ and he said ‘[t]wenty

years.’   Twenty years.      So, ‘what happens if I go to trial and

lose?’    He [Siegel] said, ‘Twenty years.’        So I said, ‘I might

as well go to trial.’”       (Id.)   Defendant testified that he was

not shown a copy of the proposed plea agreement (id. at 16),

and that Mr. Siegel did not “mention . . . anything about an 851

enhancement” on July 15, 2008 (see id. at 14).           Defendant

additionally testified that he was “never” aware that the

government had offered pleading to a mandatory minimum of 10

years’ imprisonment.       (See id. at 39.)

           Mr. Siegel credibly testified that he discussed with

defendant the strengths and weaknesses of his case and the

possibility of being convicted at trial.         (See id. at 89.)       Mr.

Siegel testified that after reviewing video recordings of the

defendant engaged in narcotics transactions in the courtyard of

a housing project, he advised defendant that “if you go to trial

. . . with this evidence . . . the probability is you’re going

to be convicted.”        (Id. at 89-90.)   Mr. Siegel therefore advised

defendant to plead guilty.        (Id. at 90.)   Siegel testified that

he explained to defendant the benefit of accepting the

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government’s 10-year plea offer in elementary terms: “if you

accept the ten-year plea, . . . that means you’re going to do

eight and a half years, with time off for good behavior. . . .

But if you don’t take it and you are convicted, . . . you have

to wait another ten years before you can leave.”          (Id.)

           Significantly, defendant did not refute Mr. Siegel’s

testimony that Siegel discussed with defendant the strength of

the government’s evidence and the probability that he would be

convicted.    When asked whether Cohen or Siegel ever discussed

the “strength[s] and weaknesses of the [government’s] case,

defendant testified “Not really.         Mr. Siegel stated to me that,

again, that there are cases that were triable and cases not

triable, and this was not a triable case.         And at that time I

told him that I didn’t want him representing me anymore . . . .”

(Id. at 46.)

           Mr. Siegel further credibly testified that despite his

advice, defendant did not want to accept the plea offer of a

mandatory 10-year term of imprisonment because “[h]e wanted a

better plea offer” and “said that he was not part of the

conspiracy, that he was an independent drug dealer, and that he

had nothing to do with being part of the conspiracy . . . .”

(Id. at 86; see also id. at 91.)         According to Siegel, defendant

was “adamant” in his refusal to plead guilty.          (Id.)   In this

regard, Mr. Siegel’s testimony corroborates Mr. Cohen’s

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testimony concerning defendant’s belief he was not guilty of the

conspiracy and acted as a “lone operator[.]”           (See id. at 71.)

            During a July 15, 2008 status conference at which

defendant was present, Mr. Siegel explained to the court that

defendant wished to proceed to trial.        (See Gov. Ex. 4 at 12-

13.)    Mr. Siegel stated that,


            When I entered the case, I had plea discussions
            with Ms. Latif, the [A]ssistant [United States
            Attorney], and a plea offer, if the defendant
            accepted by today with a plea to a ten year
            mandatory minimum count. The government has
            advised me that if the defendant rejects that
            offer, they will be filing an 851 notice
            indicating a prior felony offense plus additional
            charges. I’ve advised the defendant of this and
            the defendant has rejected the offer and wishes
            to go to trial.


(Id.)    Defendant testified that he did not recall hearing any

reference to a prior felony information “or anything like that”

at the July 15, 2008 status conference.        (Id. at 17.)      Rather,

defendant testified that he recalled hearing a reference to

“additional charges and such like that.”        (Id.)


            During the October 28, 2009 evidentiary hearing, Mr.

Siegel explained that his above statement at the July 15, 2008

status conference did not reflect the entirety of his

conversations with defendant.       Mr. Siegel testified that he

advised defendant that,



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           in the event he rejected the ten-year mandatory
           minimum and the government filed an 851 notice,
           then his mandatory minimum sentence would be
           doubled. Instead of being a mandatory minimum of
           ten years, it would be a mandatory minimum of
           twenty years.


(Tr. at 85.)    After being advised that defendant had rejected

the government’s plea offer, the government filed a prior felony

information in open court.       (See Doc. No. 119, Minute Entry for

July 15, 2008 Status Conference; see also Doc. No. 106, Prior

Felony Information.)

           Defendant testified that had he known the government

had offered a 10-year plea deal and that he faced a 20-year

mandatory minimum if convicted after trial, he would have

accepted the 10-year sentence “[a]s opposed to getting 20 years

. . . .”   (See id. at 24.)      The court, however, credits the

testimony of Messrs. Cohen and Siegel regarding their

discussions with defendant about the plea offer and the

consequences of proceeding to trial, based on the exhibits,

court conference transcripts and counsel’s contemporaneous

notes.

                           CONCLUSIONS OF LAW

           Defendant’s pro se motion requests “the opportunity to

accept responsibility” and “receive the benefit therefrom”

because he was allegedly not advised of the 10-year plea offer

and the consequences of proceeding to trial.           (See Def. Mem. at

                                    14
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3-4.)   The court accepts the government’s characterization of

defendant’s motion as an assertion that he was denied

constitutionally effective assistance of counsel with respect to

the Government’s plea offer. 5      (Gov. Mem. at 6.)     See Burgos v.

Hopkins, 14 F.3d 787, 790 (2d Cir. 1994) (“[W]e read [a pro se

litigant’s] supporting papers liberally, and will interpret them

to raise the strongest arguments that they suggest.”); see also

United States v. Morgan, No. 08-CR-208, 2009 U.S. Dist. LEXIS

99830, at *22-25 (N.D.N.Y. Oct. 27, 2009) (where defendant’s pro

se post-conviction motion alleged that his lawyer “did not cover

all [the] issues” at trial and “did not have enough time to

properly prepare [a] defense[,]” the court construed defendant’s

allegation as an ineffective assistance of counsel claim, and

denied a new trial on that basis).

           As the government correctly points out, to succeed on

a claim of ineffective assistance of counsel, a defendant must

(i) overcome a “strong presumption” that his counsel’s conduct

was reasonable and demonstrate that the representation “fell

below an objective standard of reasonableness” under “prevailing

professional norms,” and (ii) “affirmatively prove prejudice” by

showing that “but for counsel’s unprofessional errors, the

result of the proceeding would have been different.”           Strickland

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  Defendant’s counsel does not dispute the government’s
characterization or the governing standards set forth in the
government’s submission. (See Gov. Mem. at 6.)
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v. Washington, 466 U.S. 668, 687-688, 693-694 (1984); accord

United States v. Pitcher, 559 F.3d 120, 123 (2d Cir. 2009).

(See Gov. Mem. at 6.)      “A court can address these issues in

either order; thus, if it is easier to determine that the

defendant has failed to show prejudice, that determination is

sufficient to dispose of the ineffective-assistance claim.”

United States v. Castro, No. 04-CR-664, 2009 U.S. Dist. LEXIS

19507, at *2 (S.D.N.Y. Feb. 11, 2009) (citing Strickland, 466

U.S. at 697).

   A. Counsel’s Performance

           “It is well settled that a defendant’s Sixth Amendment

right to counsel extends to plea negotiations.”          Pitcher, 559

F.3d at 123 (quoting Davis v. Greiner, 428 F.3d 81, 87 (2d Cir.

2005)).   In the context of a plea offer, “counsel must

communicate to the defendant the terms of the plea offer . . .

and should usually inform the defendant of the strengths and

weaknesses of the case against him, as well as the alternative

sentences to which he will most likely be exposed . . . .”

Purdy v. United States, 208 F.3d 41, 45 (2d Cir. 2000) (finding

defense counsel constitutionally effective where counsel had

substantially communicated to defendant the plea offer and

adequately informed defendant of the consequences of pleading

guilty and the strengths of the government’s case); see also

Model Rule of Professional Conduct 1.4(b) (a “lawyer shall

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explain a matter to the extent reasonably necessary to permit

the client to make informed decisions regarding the

representation.”).       “[K]nowledge of the comparative sentence

exposure between standing trial and accepting a plea offer will

often be crucial to the decision whether to plead guilty.”

United States v. Gordon, 156 F.3d 376, 380 (2d Cir. 1998)

(citation and internal quotation marks omitted).

           “[A]n attorney’s failure to adequately advise his

client about the consequences that attach to a guilty plea offer

may constitute constitutionally deficient performance.            Diaz v.

United States, No. 08-CV-1147, 2009 U.S. Dist. LEXIS 66367, at

*9 (S.D.N.Y. July 27, 2009) (citing Gordon, 156 F.3d at 380)

(defendant was denied effective assistance of counsel during

plea negotiations when defense counsel “grossly

underestimate[ed]” defendant’s potential maximum sentence)).

Indeed, the Second Circuit recently observed that “there may

perhaps be circumstances where the disparity between the

sentence offered under a plea agreement and the sentencing

exposure in the absence of such an agreement (factoring in both

the probable sentence and the likelihood of conviction) might

require counsel to give advice about the benefits and risks of

accepting or not accepting a plea offer beyond merely stating

the sentencing exposure . . . .”         Carrion v. Smith, 549 F.3d

583, 590 (2d Cir. 2008) (“Carrion I”); see also Carrion v.

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Smith, 644 F. Supp. 2d 452, 467 (S.D.N.Y. 2009) (“Carrion II”)

(“a lawyer unquestionably has a duty to inform his client of the

sentencing exposure he faces if he accepts the plea offer and if

he does not.”).

            Moreover, the Second Circuit has observed that the

Model Rules of Professional Conduct (“Model Rules”) provide that

“the ultimate decision whether to plead guilty must be made by

the defendant.”     Purdy, 208 F.3d at 45 (citing Model Rule

1.2(a)).    Indeed, the Second Circuit has observed that with

respect to a plea offer, “counsel [has] an affirmative duty to

avoid exerting undue influence on the accused’s decision and to

ensure that the decision . . . is ultimately made by the

defendant.”    Id. (citations and internal quotation marks

omitted).

            Here, defendant testified that neither Cohen nor

Siegel ever showed him a copy of or otherwise informed him of

the government’s 10-year plea offer.        (See Tr. at 15-17.)

Defendant testified that Mr. Cohen had advised him that the

government “was willing” to offer a 5-year minimum contingent

upon defendant’s cooperation.       (See id. at 17.)     Defendant

further testified that Mr. Cohen never advised him that the

mandatory minimum would double from 10 to 20 years if defendant

rejected the plea offer, the government filed a prior felony

information pursuant to 21 U.S.C. § 851 and defendant was

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convicted at trial.      (See id. at 17-18.)    Defendant testified

that Mr. Siegel advised him that the government had offered a

20-year mandatory minimum whether he pled guilty or proceeded to

trial.   (See id. at 15-16.)

            Notwithstanding defendant’s testimony, the weight of

the credible evidence does not support a finding that Mr.

Cohen’s representation of defendant was deficient in any

respect.    Although Mr. Cohen did not recall showing defendant a

copy of the proposed plea agreement or any correspondence

received from the government, Cohen credibly testified that he

informed defendant on multiple occasions of the terms of the 10-

year plea offer, the consequences of rejecting the offer and the

strengths of the government’s evidence.        Specifically, Mr. Cohen

testified that he advised defendant that the effect of the prior

felony information would be that, “if he [defendant] were

convicted on the conspiracy [count,] . . . instead of having a

ten-year minimum, it would be 20.”        (See Tr. at 60.)     Moreover,

after reviewing the government’s video evidence of defendant

engaged in drug transactions, Mr. Cohen advised defendant of his

belief that defendant was likely to be convicted if he proceeded

to trial.    (See Tr. at 64, 70.)     Indeed, Mr. Cohen specifically

recalled that he “almost begged” defendant to accept the 10-year

mandatory minimum rather than face a 20-year prison term.             (See

id. at 71.)    Accordingly, the court concludes that Mr. Cohen’s

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representation was objectively reasonable.

           Similarly, the evidence supports a finding that Mr.

Siegel’s representation of defendant was objectively reasonable.

Although Mr. Siegel also did not recall showing defendant a copy

of the proposed plea agreement or any correspondence received

from the government (see id. at 78), Mr. Siegel recalled that he

met with defendant on three occasions before the government’s

deadline for acceptance of the plea offer (see id. at 85-86).

Mr. Siegel credibly testified that he communicated to defendant

the government’s 10-year plea offer and advised defendant that

if he rejected the offer, the government would file a prior

felony information which “would then double the sentence” from a

mandatory 10 years’ imprisonment under the plea agreement to a

mandatory 20 years’ imprisonment upon conviction at trial.             (See

id. at 77-78; see also Court Exs. 1, 3.)         Mr. Siegel also

discussed with defendant the strength of the government’s

evidence, namely video recordings of the defendant engaged in

narcotics transactions, and advised defendant of the strong

likelihood of conviction at trial.         (See id. at 89-90.)     For

this reason, Siegel counseled defendant to accept the

government’s 10-year plea offer.         (See id. at 90.)    Defendant

testified that when Siegel advised him that his defense was weak

and the case was “not triable,” defendant sought to relieve

Siegel as his trial counsel.       (See id. at 46.)     Based on the

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weight of the evidence, the court concludes that Mr. Siegel’s

representation was objectively reasonable.

           Accordingly, the court concludes that defendant has

failed to satisfy the first prong of the Strickland analysis in

that he has not demonstrated that his counsel’s performance fell

below an objective standard of reasonableness.          To the contrary,

the credible and reliable record evidence demonstrates, inter

alia, that both Cohen and Siegel communicated the government’s

10-year plea offer to defendant in person on numerous occasions,

discussed with defendant the consequences of rejecting the offer

given the government’s stated intention to file a prior felony

information pursuant to 21 U.S.C. § 851, counseled defendant

regarding the strengths of the government’s evidence, and

advised defendant to accept the offer.        That defendant may have

“subjectively” misunderstood counsel’s advice “is not the

benchmark; rather, the reasonableness of counsel’s efforts to

communicate the plea offer to his client determines whether the

Strickland standard has been met.”        See Romano v. United States,

No. 95-CV-3776, 1995 U.S. Dist. LEXIS 13874, at *3 (S.D.N.Y.

Sept. 22, 1995), aff’d, 101 F.3d 683 (2d Cir. 1996).

   B. Prejudice

           Even if defendant had established that his counsel’s

performance fell below an objective standard of reasonableness,

which he did not, defendant fails to establish that he was

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prejudiced by counsel’s alleged deficient conduct, as required

by the second Strickland factor.         In particular, defendant has

not demonstrated by sufficient evidence that he would have

pleaded guilty if he had known of the 10-year plea offer.

           “To satisfy the second prong of Strickland, a

petitioner claiming that his attorney failed to communicate a

plea offer to him must establish prejudice by demonstrating a

reasonable probability that he would have accepted the offer if

he had been aware of it.”      Pham v. United States, No. 99-CV-

11613, 2005 U.S. Dist. LEXIS 31252, at *20 (S.D.N.Y. Dec. 20,

2005) (citations omitted); see Purdy, 208 F.3d at 49 (“defendant

“must demonstrate a reasonable probability that but for [defense

counsel’s] deficiencies, he would have pled guilty.”).            “The

second Strickland prong requires a showing of prejudice which,

in the Second Circuit, requires some objective evidence other

than defendant’s assertions.”       Carrion II, 644 F. Supp. 2d at

471 (citations and internal quotation marks omitted).            Such

objective evidence may include “a great disparity between the

actual sentence and the sentence that effective counsel would

have secured for the defendant.”         Pham, 2005 U.S. Dist. LEXIS

31252, at *21 (quoting Mask v. McGinnis, 233 F.3d 132, 141 (2d

Cir. 2000)); accord Gordon, 156 F.3d at 381.           Moreover, although

a defendant’s “insistence on his innocence is a factor relevant

to any conclusion as to whether he has shown a reasonable

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probability that he would have pled guilty, it is not

dispositive.”    Cullen v. United States, 194 F.3d 401, 407 (2d

Cir. 1999).

           In support of his contention that Cohen and Siegel

never advised him that the government had extended a 10-year

plea offer, defendant relies on his own testimony that the

conversations did not occur and, if they had, he would have

accepted the 10-year sentence “[a]s opposed to getting 20 years

. . . .”   (See Tr. at 24.)      By contrast, as previously

discussed, Mr. Cohen provided coherent, reliable testimony that

he advised defendant about the government’s offer, which he

urged defendant to accept.       (See id. at 63, 68, 70-71.)

Likewise, as discussed above, Mr. Siegel provided reliable

testimony concerning his meetings and discussions with

defendant, which was corroborated by Siegel’s contemporaneous

handwritten notes.       (See id. at 77-78; Court Exs. 1, 3.)

           Even considering the disparity between the mandatory

10-year imprisonment term offered by the government and the

mandatory 20-year term of imprisonment defendant now faces

following the filing of the prior felony information and his

conviction, the weight of the objective evidence indicates that

defendant would not have accepted the government’s plea offer.

Defendant testified that it was “possible” that he would have

accepted a 5-year plea offer (Tr. at 23) had it been offered,

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however, defendant understood that would have required him to

cooperate with the government, which he was unwilling to do (id.

at 20-21).    Moreover, the record establishes that although both

Cohen and Siegel advised defendant to accept the 10-year plea

offer, defendant exercised his right to reject the offer with

respect to the narcotics distribution conspiracy charge, which

carried a 10-year mandatory minimum sentence pursuant to 21

U.S.C. § 841(b)(1)(A), and consistently maintained his

innocence.    Indeed, Cohen and Siegel corroborated each other’s

testimony that defendant refused to plead guilty to the

narcotics distribution conspiracy charge and believed himself to

be innocent of that offense on the theory that he acted as a

“lone” or “independent” operator.        (Tr. at 71, 86, 91.)

           Based on the evidence, the court concludes that

defendant was not prejudiced because he rejected the

government’s 10-year plea offer having been properly advised of

the offer, the strengths of the government’s case and the

likelihood of conviction, and the disparity in sentencing if

convicted after a trial as compared to the government’s plea

offer.   Moreover, defendant has failed to establish a reasonable

probability that but for his counsel’s alleged deficiencies, he

would have accepted the government’s plea offer, which would

have resulted in a mandatory 10-year term of imprisonment,

notwithstanding his proclamation of innocence with respect to

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the narcotics distribution conspiracy charge.           Thus, the court

concludes that defendant has failed to establish that he was

denied constitutionally effective assistance of counsel with

respect to the government’s plea offer.         Accordingly,

defendant’s pro se motion is denied.

   C. Sentencing Enhancement

           The government requests that defendant receive a 2-

level sentencing enhancement pursuant to U.S.S.G. § 3C1.1

because he obstructed justice by allegedly committing perjury in

“in an attempt to reduce his sentence . . . .”           (Def. Mem. at

11.)   The government does not identify which statements are

perjurious and amounted to obstruction of justice; instead, the

government alleges that defendant “lie[d] to the Court . . .

throughout his October 28, 2009 hearing testimony.”            (Id.)

           Sentencing Guideline § 3C1.1 authorizes a two-level

upward adjustment:

           [i]f . . . the defendant willfully obstructed or
           impeded, or attempted to obstruct or impede, the
           administration of justice during the course of
           the . . . prosecution[] or sentencing of the
           instant offense of conviction, and . . . the
           obstructive conduct related to . . . the
           defendant’s offense of conviction and any
           relevant conduct . . . .

U.S.S.G. § 3C1.1.        “[A]n enhancement for obstruction of justice

is appropriate when a defendant ‘gives false testimony

concerning a material matter with the willful intent to provide


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false testimony, rather than as a result of confusion, mistake

or faulty memory.’”      United States v. Agudelo, 414 F.3d 345, 349

(2d Cir. 2005) (quoting United States v. Dunnigan, 507 U.S. 87,

94 (1993)).    “[B]efore applying an obstruction enhancement based

on perjury, the sentencing court must find by a preponderance of

the evidence ‘that the defendant 1) willfully 2) and materially

3) committed perjury, which is (a) the intentional (b) giving of

false testimony (c) as to a material matter.’”            Id. (quoting

United States v. Zagari, 111 F.3d 307, 339 (2d Cir. 1997)); see

United States v. Pirgousis, 290 Fed. Appx. 388, 392 (2d Cir.

Aug. 14, 2008) (“[a]n enhancement under § 3C1.1 is appropriate

only if the district court makes a finding that the defendant

had the specific intent to obstruct justice, and that finding

may be made by a preponderance of the evidence.”).            The

commentary to § 3C1.1 cautions that “inaccurate testimony or

statements sometimes may result from confusion, mistake, or

faulty memory and, thus, not all inaccurate testimony or

statements necessarily reflect a willful attempt to obstruct

justice.”    U.S.S.G. § 3C1.1, n. 2.

            Based on the record evidence, the court concludes that

the government has not established, by preponderant evidence,

that defendant willfully committed perjury.            Although the

testimony of Messrs. Cohen and Siegel contradicts defendant’s

hearing testimony, the court does not find that defendant’s

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testimony was willfully false, but more likely was the result of

confusion, mistake, or faulty memory.        Accordingly, the court

declines to apply a 2-level enhancement pursuant to U.S.S.G. §

3C1.1.

                                CONCLUSION

           For the foregoing reasons, the court denies

defendant’s pro se motion and the government’s motion for a 2-

level sentencing enhancement pursuant to U.S.S.G. § 3C1.1.             The

parties shall appear for sentencing on May 19, 2010 at 3:00 p.m.

SO ORDERED.

Dated: Brooklyn, New York
       February 2, 2010

                                               /s/
                                    KIYO A. MATSUMOTO
                                    United States District Judge
                                    Eastern District of New York




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